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Attorney for WELLS FARGO BANK, N.A.


                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION


IN RE:                                                  §   CASE NO. 16-40031-BTR-7
                                                        §
JAMES D GRISHAM and YAMILETH                            §
D GRISHAM,                                              §
   Debtor                                               §   CHAPTER 7
                                                        §
WELLS FARGO BANK, N.A.,                                 §
   Movant                                               §   HEARING DATE:
                                                        §
v.                                                      §   TIME:
                                                        §
JAMES D GRISHAM and YAMILETH                            §
D GRISHAM; MARK A.                                      §
WEISBART, Trustee                                       §
   Respondents                                          §   JUDGE BRENDA T. RHOADES


                     MOTION OF WELLS FARGO BANK, N.A.
FOR RELIEF FROM STAY OF ACTION AGAINST DEBTOR(S) PURSUANT TO 11
 U.S.C. § 362(a) AND WAIVER OF THIRTY DAY REQUIREMENT PURSUANT TO
                                 § 362(e)

                                                 NOTICE

NO HEARING WILL BE CONDUCTED ON THIS MOTION UNLESS A WRITTEN
OBJECTION IS FILED WITH THE CLERK OF THE UNITED STATES
BANKRUPTCY COURT AND SERVED UPON THE PARTY FILING THIS
PLEADING WITHIN 14 DAYS FROM THE DATE OF SERVICE UNLESS THE
COURT SHORTENS OR EXTENDS THE TIME FOR FILING SUCH OBJECTION.
IF NO OBJECTION IS TIMELY SERVED AND FILED, THIS PLEADING SHALL
BE DEEMED TO BE UNOPPOSED, AND THE COURT MAY ENTER AN ORDER
GRANTING THE RELIEF SOUGHT. IF AN OBJECTION IS FILED AND SERVED
IN A TIMELY MANNER, THE COURT WILL THEREAFTER SET A HEARING. IF
YOU FAIL TO APPEAR AT THE HEARING, YOUR OBJECTION MAY BE
STRICKEN. THE COURT RESERVES THE RIGHT TO SET A HEARING ON ANY
MATTER.
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 TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW Movant, WELLS FARGO BANK, N.A., by and through the

 undersigned attorney, and moves the Court as follows:

      1.      This Motion is brought pursuant to 11 U.S.C. §362(d) in accordance with Rule

4001 of the Bankruptcy Rules.

      2.      On or about January 04, 2016, Debtors (hereinafter "Debtor") filed a petition for

an order of relief under Chapter 7 of the Bankruptcy Code, 11 U.S.C.

      3.       At the time of filing the Chapter 7 petition, Movant held a Note executed on

March 2, 2007, by JAMES D. GRISHAM by YAMILETH D. GRISHAM as Attorney in Fact

and YAMILETH D. GRISHAM in the original amount of TWO HUNDRED TWO

THOUSAND FIVE HUNDRED DOLLARS AND ZERO CENTS ($202,500.00) with interest

thereon at the rate of 6.250% per annum, as modified by loan modification dated December

05, 2014. A true and correct copy of the Note is attached hereto as Exhibit "A".

      4.       The indebtedness is secured by a Deed of Trust dated March 2, 2007 and

executed by JAMES D. GRISHAM by YAMILETH D. GRISHAM as Attorney in Fact

and YAMILETH D. GRISHAM on real estate with all improvements known as:

      BEING LOT 9, IN BLOCK 15, OF QUAIL MEADOW VILLAGE, PHASE 1,
      AN ADDITION TO THE CITY OF FRISCO, DENTON COUNTY, TEXAS,
      ACCORDING TO THE MAP THEREOF RECORDED IN CABINET U, PAGE
      154, OF THE PLAT RECORDS OF DENTON COUNTY, TEXAS.

A true and correct copy of the Deed of Trust is attached hereto as Exhibit "B".

      5.      Debtor have failed to maintain current the payments due under the Note and are

presently in arrears for 12 payments through and including the February 1, 2016 payment.

      6.       The outstanding indebtedness to Movant is $193,018.33 principal plus accrued

interest, late charges, attorneys fees and costs as provided in the Note and Deed of Trust.
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      7.       In accordance with the terms of the Note and Deed of Trust, Movant would

allege that it is entitled to reasonable contractual attorneys fees, including, but not limited to,

fees, if any, for the preparation and filing of a proof of claim and fees and costs for the filing of

this Motion for Relief from Stay.

      8.       Debtor have failed to provide adequate protection to Movant which constitutes

cause to terminate the automatic stay of 11 U.S.C. §362(a).

      9.       By reason of the foregoing, Movant requests the Court to terminate the stay so

Movant may proceed to foreclose in accordance with its Note and Deed of Trust.

      10.      Movant reserves the right to assert an 11 U.S.C. § 362(d)(2) Cause of Action, if

appropriate, at the hearing on Movant's Motion for Relief .

      11.      The provision of Rule 4001 (a) (3) should be waived and Movant be permitted to

immediately enforce and implement any order granting relief from the automatic stay.

      WHEREFORE, Movant prays that this Court enter an order, after notice and hearing,

terminating the automatic stay as to Movant; alternatively, Movant be made whole by having

all payments brought current. Movant further prays that the Court waive the provision of

Rule 4001 (a) (3) and that WELLS FARGO BANK, N.A. be permitted to immediately enforce

and implement any order granting relief from the automatic stay; that Movant be awarded its

reasonable contractual attorneys fees and expenses for this Motion; and, that Movant be

granted such other and further relief as is just.




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                                          Respectfully submitted,

                                          BARRETT DAFFIN FRAPPIER
                                          TURNER & ENGEL, LLP



                                  BY: /s/ NICOLE PAPE
                                      NICOLE PAPE
                                      TX NO. 24051151
                                      15000 SURVEYOR BLVD
                                      ADDISON, TX 75001
                                      Telephone: (972) 386-5040
                                      Facsimile: (972) 661-7725
                                      E-mail: EDECF@BDFGROUP.COM
                                      ATTORNEY FOR MOVANT




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                                     CERTIFICATE OF SERVICE
    I hereby certify that on February 17, 2016, a true and correct copy of the foregoing Motion

for Relief from Stay was served via electronic means as listed on the Court's ECF noticing

system or by regular first class mail to the parties on the attached list.



                                          Respectfully submitted,

                                          BARRETT DAFFIN FRAPPIER
                                          TURNER & ENGEL, LLP



                                          /s/ NICOLE PAPE                                            02/17/2016
                                          NICOLE PAPE
                                          TX NO. 24051151
                                          15000 SURVEYOR BLVD
                                          ADDISON, TX 75001
                                          Telephone: (972) 386-5040
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DEBTORS:
YAMILETH D GRISHAM
5613 BAY MEADOWS DRIVE
FRISCO, TX 75034

YAMILETH D GRISHAM
5613 BAY MEADOWS DRIVE
FRISCO, TX 75034-4611

JAMES D GRISHAM
5613 BAY MEADOWS DRIVE
FRISCO, TX 75034

JAMES D GRISHAM
5613 BAY MEADOWS DRIVE
FRISCO, TX 75034-4611

TRUSTEE:
MARK A. WEISBART
12770 COIT ROAD
SUITE 541
DALLAS, TX 75251

US TRUSTEE:
110 N. COLLEGE AVE.
SUITE 300
TYLER, TX 75702

DEBTOR'S ATTORNEY:
KENNETH S HARTER
1620 E. BELTLINE ROAD
CARROLLTON, TX 75006

PARTIES IN INTEREST:
None

PARTIES REQUESTING NOTICE:
None




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